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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DIVISION OF MICHIGAN
                          SOUTHERN DIVISION

  SARAH DOE, as Next Friend of F.A. DOE,                         Case No.
   a minor,                                                      Hon.
        Plaintiff,
  v.

  LIVONIA PUBLIC SCHOOLS,
  GARDEN CITY PUBLIC SCHOOLS,
  JAMES BAIRD, individually and in his official
  capacities,
        Defendants.

____________________________________________________________________________________
 Abdallah M. Moughni (P85374)
 Majed A. Moughni (P61087)
 MOUGHNI LAW, PLLC.
 Attorneys for Plaintiff
 290 Town Center Dr. Suite 320
 Dearborn, MI 48126
 (313) 581-0800
 (313) 581-0808 (fax)
 Abdallah@moughnilaw.com
 Majed@moughnilaw.com

                       COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff, SARAH DOE, as Next of Friend of F.A. Doe, a Minor,

 by and through her attorneys, MOUGHNI LAW, PLLC., and for her complaint against

 the above-named Defendants, follows:

             PRELIMINARY STATEMENT AND INTRODUCTION

       1.    This is action for declaratory, injunctive, equitable, and monetary relief

 for injuries sustained by SARAH DOE, as Next Friend of F.A. Doe, a minor, as a

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result of the acts, conduct and omissions of James Baird (hereinafter “Baird”), Livonia

Public Schools ("LPS"), Garden City Public Schools ("GCPS") and their respective

employees, representatives, and agents, relating to sexual assault, abuse molestation,

nonconsensual sexual touching, and harassment by Defendant Baird against Plaintiff

F.A. DOE.

       2.     F.A. DOE was a 10-year-old 3rd grade student attending Douglas

Elementary School in Garden City in 2019. F.A. DOE immigrated to the United States

of America from Iraq in 2014. F.A. DOE suffered from retinal dystrophy bulls-eye

maculopathy, nystagmus, and myopic astigmatism in her right eye.

       3.     Defendant Baird was hired by LPS and contracted out to GCPS as a teacher

consultant for the visually impaired and a certified orientation and mobility specialist.

Defendant Baird was the designated Orientation and Mobility Specialist for children

who required special education due to deficiencies with their vision. F.A. DOE, was

provided treatment at the request of her teacher and without a 3rd party’s supervision. That

treatment was provided by Defendant Baird. F.A. DOE, a minor child, reasonably

believed that she was required t o consult and receive treatment from Defendant Baird

because she was instructed to do so by her teacher.

       4.     F.A. DOE had no reason to suspect Defendant Baird was anything

other than a competent and ethical vision specialist.

       5.     Upon information and belief, Defendant Baird worked for multiple school

districts including LPS and GCPS in various positions and capacities from 2013 to 2021.

       6.     For over 7 years, Defendant Baird had unfettered access to visually

impaired minor girls through the LPS and GCPS.

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        7.     In 2019, under the guise of treatment, Defendant Baird sexually

 assaulted, abused, and molested F.A. DOE by nonconsensual sexual touching, and

 harassment of a minor child.

        8.     F.A. DOE was placed in a program run by Defendant Baird to train

 disabled students the skills to find success irrespective of their vision loss. F.A. DOE

 was placed in this program due to her retinal dystrophy.

        9.    The assault was perpetrated in an empty classroom at Douglas 3-4

Campus within the Garden City School District.

       10.    F.A. DOE was approximately 10 years old when she was assaulted by

 Defendant Baird.

       11.    F.A. DOE fell into the age group of the majority of victims Defendant Baird

 abused, as the age group of many of the victims was between 10 to 15 years.

       12.    All of Defendant Baird's acts against F.A. DOE were conducted under

 the guise of providing tests and training for the visually impaired in an empty

 classroom at Douglas 3-4 Campus while Baird abused F.A. DOE and other victims.

       13.    Defendant Baird used his position of trust and confidence in an abusive

 manner, causing F.A. DOE to suffer a variety of injuries including shock, humiliation,

 emotional distress and related physical manifestations thereof, embarrassment, loss of

 self-esteem, disgrace, and loss of enjoyment of life.

       14.    Upon information and belief, prior to F.A. DOE’s interaction with

 Defendant Baird, two visually impaired minor students were molested by Defendant

 Baird. One occurred at Douglas 3-4 Campus on January 4, 2018 and the other at

 Marshall Upper Elementary School in Westland, MI on March 1, 2018.

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        15.   In these alleged occurrences, Defendant Baird groped one minor’s

breasts in a room where he was alone with her and then on another occasion, Baird

placed his penis in another minor’s hand. Garden City Public Schools and Police were

put on notice of these crimes, however Baird was not arrested nor fired from his job.

        16.   Upon information and belief, following F.A. DOE’s interaction with

Defendant Baird at Douglas 3-4 Campus, a female student at Wayne-Westland

Community Schools District who was receiving vision specialty services from

Defendant Baird had reported to Wayne-Westland Community Schools District a

sexual assault by Defendant Baird on February 11, 2020

        17.   On or about February 1, 2023, Defendant Baird was criminally charged

for the molestation of F.A. DOE and other victims. Numerous news articles have

publicized the horror of the molestations forcing F.A. DOE and other victims to relive

the trauma of the sexual assaults.

        18.   As early as 2019, or even before, representatives of LPS and GCPS were

made aware of Defendant Baird's conduct, yet failed to appropriately respond to

allegations, resulting in the sexual assault, abuse, and molestation of victims through

2021.

        19.   LPS and GCPS's deliberate indifference before, during, and after the sexual

assault, abuse, and molestation of F.A. DOE and other victims was in violation of

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S. C. §

I 983, as well as other Federal and State laws.

        20.   LPS and GCPS's failure to properly supervise Defendant Baird and its

negligence in retaining Defendant Baird were in violation of Michigan common law.

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      21.      On February 1, 2023, Defendant Baird was arrested and charged in

Wayne County, Michigan on 2 charges of first-degree criminal sexual conduct, one of

whom occurring with a person under 13 and 2 charges of second-degree criminal

sexual conduct, one of whom occurring with a person under 13.

       22.     The acts, conduct, and omissions of LPS and GCPS and their policies,

customs, and practices, with respect to investigating sexual assault allegations, severely

compromised the safety and health of F.A. Doe and an unknown number of individuals,

and have resulted in repeated instances of sexual assault, abuse, and molestation of F.A.

DOE and others by Defendant Baird, which has been devastating for F.A. DOE and

her family.

       23.     This action arises from LPS, GCPS's, and the other Defendants' blatant

disregard for F.A. DOE’s federal and state rights, and Defendants' deliberately

indifferent and unreasonable response to teacher-on-student sexual assault, abuse, and

molestation.

                             JURISDICITON AND VENUE

       24.     This action is brought pursuant to Title IX of the Educational

Amendments of 1972, 20 U.S.C. 1681, et seq., as more fully set forth herein.

       25.     This is also an action to redress the deprivation of Plaintiff’s

constitutional rights under the Fourteenth Amendment of the United States

Constitution pursuant to 42 U.S.C. 1983.

       26.     Subject matter jurisdiction is founded upon 28 U.S.C. 1331 which gives

District Courts jurisdiction over all civil actions arising under the constitution, laws,

and treaties of the United States.
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       27.    Subject matter jurisdiction is also founded upon 28 U.S.C. 1343 which

gives district courts original jurisdiction over any civil actions authorized by law to

be brought by any person to redress the deprivation, under color of any state law,

statute, ordinance, regulation, custom or usage, of any right, privilege or immunity

secured by the Constitution of the United States or by any act of congress providing

for equal right of citizens or of all persons within the jurisdiction of the United

States, and any civil action to recover damages or to secure equitable relief under any

act of congress providing for the protection of civil rights.

       28.    Plaintiff further invokes the supplemental jurisdiction of the court,

pursuant to 28 U.S.C. 1367(a), to hear and decide claims arising under state law

that are so related to the claims within the original jurisdiction of this court that

they form part of the same case or controversy.

       29.    The claims are cognizable under the United States Constitution, 42

U.S.C. 1983, 20 U.S.C. 1681 et seq., and under Michigan Law.

       30.    The events giving rise to this lawsuit occurred in Wayne County, Michigan,

which sits in the Southern Division of the Eastern District of Michigan.

       31. Venue is proper in the United States District Court for the Eastern District

of Michigan, pursuant to 28 U.S.C. 1391 (b)(2), in that this is the judicial district in

which the events giving rise to the claim occurred.

                          PARTIES AND KEY INDIVIDUALS

       32.    Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

      33.    Plaintiff SARAH DOE was, at all times relevant to this cause of action,
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a resident of Wayne County, Michigan. She brings this cause of action solely in a

representative capacity as Next Friend of and on behalf of her minor daughter, F.A.

DOE.

       34.     Defendant Baird is a Teacher consultant for visually impaired and a

certified orientation and mobility specialist and was a resident of the State of

Michigan at all relevant times.

       35.     Defendant Baird was, at all times relevant to this cause of action, an employee of a

public school district, acting as a public school district employee, and acting within the scope of

his employment and under the color of state law.

       36.     Defendant Livonia Public Schools (“LPS”) is and was, at all times relevant

to this cause of action, a public school district incorporated under the laws of the State of

Michigan and a Michigan municipal corporation with its principal place of business

located in the County of Wayne, State of Michigan.

       37.     Upon information and belief, Defendant LPS receives federal financial

assistance and is therefore subject to Title IX of the Educational Amendments of 1972,

20 U.S.C. § 1681 (a).

       38.     Defendant Garden City Public Schools is and was, at all times relevant to

this cause of action, a public-school district incorporated under the laws of the State of

Michigan and a Michigan municipal corporation with its principal place of business

located in the County of Wayne, State of Michigan.

       39.     Upon information and belief, Defendant GCPS receives federal financial

assistance and is therefore subject to Title IX of the Educational Amendments of 1972,

20 U.S.C. § 1681 (a).
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       40.     Upon information and belief, in 2015 Andrea Oquist became the Interim

Superintendent for LPS after serving as the district’s director of elementary programs. After

serving for four months as the Interim Superintendent the district decided that Oquist become the

full time Superintendent. Oquist was, at all times relevant to this cause of action, a resident of

Wayne County, Michigan and/or conducted business in Wayne County, Michigan.

       41.     Upon information and belief, Derek Fisher became the Superintendent

for GCPS in 2015 and has held the position ever since. He has worked within the

school district since 2001 as a teacher, director of student services and associate

principal. Fisher was also the principal of Garden City High School from 2010-2015.

Fisher was, at all times relevant to this cause of action, a resident of Wayne County,

Michigan and/or conducted business in Wayne County, Michigan.

       42.     Upon information and belief, James Bohnwagner has been the Principal

for Douglas 3-4 and has been so since 2002. James Bohnwagner was, at all times

relevant to this cause of action, a resident of Wayne County, Michigan and/or

conducted business in Wayne County, Michigan.

       43.     Upon information and belief, Melissa Bodnovits the Douglas 3-4

Campus teacher who allowed James Baird to remove Plaintiff F.A. DOE from class.

        44.     Upon information and belief, At all relevant times, Defendant Baird was

employed by LPS and contracted out to work for GCPS.

        45.     At all relevant times, Defendants LPS, GCPS, and Baird were acting

under color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan.

        46.     At all relevant times, including the years of 2013 to 2021, Defendant

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Baird was acting in the scope of his employment or agency with Defendant LPS and

GCPS.

      47.    Upon information and belief, Defendant Baird was        employed     by

Defendant LPS 2013 to 2021 in various positions, including but not limited to:

              A. Teacher Consultant for the visually impaired;

              B. Certified Orientation and Mobility Specialist;

      48.    As a Teacher assistant for the visually impaired, Defendant Baird's care

and treatment should have consisted largely of consulting with parents and school

personnel on accommodations for children who are visually impaired, including

students of Defendant LPS and GCPS.

      49.    As a Certified Orientation and Mobility Specialist, Defendant Baird's

care and treatment should have consisted largely of training the visually impaired to

travel safely within their community.

      50.    While   employed    by     Defendant   LPS and GCPS,     Defendant Baird

practiced the above described jobs at Douglas 3-4 Campus.

      51.    During his employment, agency, and representation with the LPS and

GCPS, Defendant Baird sexually assaulted, abused, and molested F.A. DOE by

engaging in nonconsensual sexual touching, assault, and harassment.

      52.    Upon information and belief, Defendant Baird began his reign of terror

at Douglas 3-4 Campus in 2018, when he molested a visually impaired 10 year old

girl. This sexual assault happened multiple times on Campus.

      53.    Upon information and belief, later in 2018, Baird molested a 13-year-old

visually impaired girl at a Westland elementary school after blindfolding her.
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       54.     Upon information and belief, in 2020, Baird molested a 15 year old

visually impaired girl at a Westland elementary school after blindfolding her.

       55.     Upon information and belief, on or about February 2020, Wayne-

Westland Community Schools District informed LPS in writing of the allegations of

sexual assault of a student at Garden City Public Schools by Defendant Baird.

       56.     Upon information and belief, after the December 9, 2020, incident,

Garden City Public Schools conducted a Title IX investigation into the incident and

subsequently determined that Baird would never again provide services to any Garden

City Public Schools student.

       57.     Upon information and belief, despite knowledge of the allegations of the

Fall 2019 incident in question, LPS did not terminate or conduct an appropriate and

thorough investigation of Defendant Baird’s sexual assault conduct.

       58.     Upon information and belief, LPS did not notify and made no attempt to

warn or advise current students or their parents of GCPS, that allegations had surfaced

of the Fall 2019 incident.

       59.     Upon information and belief, Defendant Baird remained under the employ of LPS

until his resignation on August 5, 2022.



                        SPECIFIC FACTUAL ALLEGATIONS


       60.    Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.


       61.    At all times relevant to this cause of action, Defendant Baird was


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employed by LPS and pursuant to an agreement was contracted out to GCPS as a

vision specialist at Douglas 3-4 Campus to provide services and instruction to students

with visual and physical impairments, including F.A. DOE.


       62.     F.A. DOE, a 13-year-old immigrant from Iraq, suffers from retinal

dystrophy, bulls-eye maculopathy, nystagmus, and myopic astigmatism in her right

eye.


       63.     In 2019, Ms. Melissa Bodnovits, F.A. DOE’s 3rd grade teacher at GCPS,

allowed Defendant Baird to remove F.A. DOE from her classroom to complete an

vision exam.


       64.     Defendant Baird took F.A. DOE to an empty classroom at Douglas 3-4

Campus where he was alone with her and without any supervision. Under the guise

of providing F.A. DOE with eye exam testing, Defendant Baird placed a cover on the

doors and windows of said classroom.


       65.     Once the room was secluded, Defendant Baird instructed F.A. DOE to

sit on a chair in front of him. F.A. DOE complied. Defendant Baird placed a blind

fold over F.A. DOE’s glasses. F.A. DOE asked if the blindfold could be loosened as

they were too tight and causing pain. Defendant Baird refused to loosen the blindfold,

explaining that they were necessary for the exam.


       66.     Although the blindfold was covering F.A. DOE’s glasses, she was still

able to see what was happening when she looked down. What she saw, was

unimaginable.     F.A. DOE watched as Defendant Baird unzipped his pants and


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exposed his penis to this 10-year-old child.


      67.    Defendant Baird then grabbed F.A. DOE’s hand and used it to grasp and

caress his penis. As this occurred, Defendant Baird asked F.A. DOE how it felt.


      68.    Once Defendant Baird was content with his perverted sexual

gratifications, He pulled up his pants and took F.A. DOE to the school’s

administrative office.


      69.    At the office, Defendant Baird told the staff that he wished to take F.A.

DOE outside for a walk to teach her about fire hydrants and stop signs. The staff

allowed Defendant to exit the building without requiring him to sign the student out

of the school.


      70.    F.A. DOE, a 10 year-old minor child, already understood the intricacies

of fire hydrants and stop signs. Nonetheless, F.A. DOE did as she was instructed to

and went on a walk with Defendant Baird.


      71.    Defendant Baird held F.A. DOE’s hand and walked her away from the

school campus and into the surrounding neighborhood. At that time, Defendant Baird

instructed F.A. DOE that if she ever spoke about what had just happened in the

classroom (the molestation) to anyone she would be punished.


      72.    Upon information and belief, in the fall of 2021, F.A. DOE, changed

schools and was now attending Greer Park Elementary School in Dearborn MI. F.A.

DOE developed a close bond with Gabrielle Popp, a teacher consultant for the visually

impaired. On April 14, 2022, DOE opened up to Ms. Popp about Defendant Baird’s

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molestation.


       73.     Ms. Popp took all appropriate actions, including informing the F.A.

DOE’s parents as well as the Garden City Police Department of the crime that had

been committed to this minor child.


       74.     Based on this investigation, Defendant Baird was charged with 2nd

degree sexual assault of a minor.


                                    COUNT ONE
                               VIOLATIONS OF TITLE IX
                                 20 U.S.C. §1681(a), et seq.
                           DEFENDANTS LPS AND GCPS


      75.      Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

      76.      Title IX's statutory language states, "No person in the United States shall

on the basis of sex, be... subject to discrimination under any education program or

activity receiving Federal financial assistance..."

      77.      F.A. DOE is a "person" under the Title IX statutory language.

      78.      Defendant LPS receives federal financial assistance for its education

program and is therefore subject to the provisions of Title IX of the Education Act of

1972, 20 U.S.C. §1681(a), et seq.

       79.     Defendant LPS is required under Title IX to investigate allegations of

sexual assault, sexual abuse, and sexual harassment.

       80.     The U.S. Department of Education's Office of Civil Rights has explained

that Title IX covers all programs of a school and extends to sexual harassment and

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assault by employees, students, and third parties.

       81.    Defendant Baird’s actions and conduct were carried out under one of

Defendant LPS’s programs, which provides treatment to visually impaired students

and the public.

       82.    Defendant Baird's conduct and actions toward F.A. DOE, that being

nonconsensual sexual touching of a minor, constitutes sex discrimination under Title

IX.

       83.    Upon information and belief, as early as 2018, or before, an "appropriate

person" at Defendant LPS had actual knowledge of the sexual assault, abuse, and

molestation committed by Defendant Baird.

       84.    Upon information and belief, the LPS Defendants were notified about

Defendant Baird's sexual abuse and molestation by one of Defendant Baird's victims

in or around 2018, or before, on more than one occasion.

       85.    The LPS Defendants failed to carry out their duties to investigate and

take corrective action under Title IX following complaints of sexual assault, abuse,

and molestation in or around 2018, or before and thereafter.

       86.    Oquist, an agent of LPS, was an “appropriate person” within the meaning of Title

IX, who had “actual notice” of the discriminatory harassment and sexual misconduct committed

by Defendant Baird since Fall 2019.

       87.    The LPS, GCPS, and Oquist acted with deliberate indifference as their

lack of response to the allegations of sexual assault, abuse, and molestation was clearly

unreasonable in light of the known circumstances, Defendant Baird's actions with

female students, and his access to young girls.
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       88.    Defendant LPS officials had actual knowledge of Defendant Baird’s

inappropriate behavior for a significant period of time before the harm that F.A. DOE

experienced and during the harm that F.A. DOE was experiencing, yet none of the

officials took appropriate steps towards any corrective action or made any effort to protect

F.A. DOE or any other students from the harm.


      89.     The LPS and GCPS Defendants' responses were clearly unreasonable as

Defendant Baird continued to sexually assault minor female students until he was

resigned from the schools in 2021.


      90.     Between the dates of Defendant Baird's employment with LPS, from

approximately 2013 to 2021, the LPS Defendant acted in a deliberate, grossly

negligent, and/or reckless manner when they failed to reasonably respond to

Defendant Baird's sexual assaults and sex-based harassment of F.A. DOE on and

off school premises. Therefore, Plaintiff is entitled to all damages allowed under

federal law including punitive damages, which are appropriate under these

circumstances.


      91.     Defendant LPS acted with deliberate indifference, and in a clearly

unreasonable manner by failing to respond to allegations of discriminatory harassment

and sexual misconduct so as to protect F.A. DOE and others from such abuse.


      92.     As a result of Defendant LPS’ deliberate indifference to actual

knowledge of Defendant Baird’s discriminatory harassment and sexual misconduct,

F.A. DOE was subject to further discriminatory harassment and sexual misconduct by

Defendant Baird.
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      93.       Additionally, Defendant LPS failed to adequately supervise Defendant

Baird, despite having actual knowledge that Defendant Baird posed a substantial risk

of additional discriminatory harassment and sexual misconduct to the minor female

students to whom he had unfettered access.


      94.       Defendant LPS’ failure to formally investigate and take corrective

actions to complaints of Defendant Baird’s discriminatory harassment and sexual

misconduct effectively denied F.A. DOE’s educational opportunities and benefits.


      95.       As a direct and/or proximate result of LPS and GCPS’s actions and/or

inactions, F.A. DOE has suffered and will continue to suffer, loss of educational

opportunities, deprivation of equal access of education, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, and enjoyment of life, was

prevented and will continue to be prevented from performing her daily activities and

obtaining the full enjoyment of life, and may sustain loss of earnings and earning

capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive

damages in an amount sufficient to punish Defendant Baird and to deter others from

like conduct.

                WHEREFORE, Plaintiff respectfully request that this Honorable Court

enter judgment in her favor and against Defendants, jointly and severally, in an

amount in excess of $75,000.00, plus costs, interest, and attorney fees, as well as

punitive and/or exemplary damages so wrongfully incurred, as the Court deems just.

                                  COUNT TWO
                           VIOLATION OF CIVIL RIGHTS
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                           GENDER DISCRIMINATION
                                 42 U.S.C. § 1983
                        DEFENDANTS LPS, G C P S , AND BAIRD


       96.      Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

       97.      Plaintiff F.A. DOE, as a female, is a member of a protected class under

the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution.

       98.      The Equal Protection Clause of the United States Constitution forbids a

governmental actor from treating females differently where those actions are not substantially

related to some important governmental purpose.

       99.      Defendant Baird engaged in physical sexual abuse of F.A. DOE, which violated

F.A. DOE’s rights under the Equal Protection Clause of the United States Constitution in that such

physical sexual abuse was not inflicted on male children in the LPS or GCPS district.

       100.     Defendant Baird’s actions of treating F.A. DOE differently from similarly situated

male students by inflicting physical sexual abuse on F.A. DOE when such physical sexual abuse

was not inflicted on similarly situated male students was not substantially related to any important

governmental purpose.

       101. F.A. DOE enjoys the constitutionally-protected Due Process right to be

free from the invasion of bodily integrity through sexual assault, abuse, or molestation.

       102. At all relevant times, Defendants LPS, GCPS, and Baird were acting

under color of law, to wit, under color of statutes, ordinances, regulations, policies, customs,

and usages of the State of Michigan.


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       103.   The acts, as alleged above, amount to a violation of these clearly-

established, constitutionally-protected rights, of which reasonable persons in the LPS

and GCPS positions should have known.

       104.   The LPS and GCPS have the ultimate responsibility and authority to

train and supervise their employees, agents, and/or representatives in the appropriate

manner of detecting, reporting, and preventing sexual abuse, assault, and molestation

as a matter of acts, custom, policy, and/or practice. They failed to do so with

deliberate indifference.

       105.   As a matter of custom, policy, and and/or practice, the LPS and GCPS

had and have the ultimate responsibility and authority to investigate complaints

against their employees, agents, and representatives from all individuals including,

but not limited to students, visitors, faculty, staff, other employees, agents, and/or

representatives. They failed to do so with deliberate indifference.

       106.   The LPS and GCPS had a duty to prevent sexual assault, abuse, and

molestation on their campus and premises, that duty arising under the above- referenced

constitutional rights, as well as established rights pursuant to Title IX.

       107.   Defendant LPS's internal policies provide that "The board of education

will not tolerate (sexual harassment) of students by any of its employees…in

determining whether the alleged conduct constitutes harassment…the nature (and

context of the harassment) will be investigated.” They further state, “The school

district considers (sexual harassment) to be a major offense which will result in

disciplinary action…regardless of the offender’s position in the school.”

      108.    Upon information and belief, Defendant LPS's aforementioned internal

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policies were violated in or around 2019, or earlier, when at least one victim

reported sexual assault, abuse, and molestation by Defendant Baird to LPS

representatives and no action was taken to address the victim's complaints.

      109.    Defendant LPS's aforementioned internal policies were violated

subsequently when additional victims reported sexual assault, abuse, and molestation

by Defendant Baird to LPS representatives and no action was taken to address their

complaints.

      110.    The LPS’s failure to address the aforementioned victims' complaints led

to an unknown number of individuals being victimized, sexually assaulted, abused,

and molested by Defendant Baird.

      111.    Ultimately, Defendants failed to adequately and properly investigate the

complaints of victims or other similarly-situated individuals, including but not limited

to:

              A. Perform a thorough investigation into improper conduct by
                 Defendant Baird after receiving complaints in 2019 or earlier;

              B. Thoroughly review and investigate all policies, practices,
                 procedures, and training materials related to the circumstances
                 surrounding the conduct of Defendant Baird.

       112. Defendant LPS’s conduct and procedures permitted a sexually hostile


environment to exist, affecting numerous children. LPS’s failed to appropriately respond to


reports of Defendant Baird’s sexual assault, abuse, and molestation in a manner that was so


clearly unreasonable that it amounted to deliberate indifference, LPS are liable to F.A.


Doe pursuant to 42 U.S.C. § 1983.

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        113.   The LPS and GCPS are also liable to F.A. DOE under 42 U.S.C. §1983

 for maintaining customs, policies, and practices which deprived F.A. Doe of rights

 secured by the Fourteenth Amendment to the United States Constitution in violation

 of 42 U.S.C. § 1983.

        114.   The LPS and GCPS tolerated, authorized and/or permitted a custom,

 policy, practice or procedure of insufficient supervision and failed to adequately

 screen, counsel, or discipline Defendant Baird, with the result that Defendant Baird

 was allowed to violate the rights of persons such as F.A. Doe with impunity.

        115.   As a direct and/or proximate result of Defendants LPS, GCPS, and

 Baird’s violation of F.A. DOE’s rights under the Equal Protection Clause of the

 United States Constitution, F.A. DOE has suffered and will continue to suffer, loss of

 educational opportunities, deprivation of equal access of education, pain of mind and

 body, shock, emotional distress, physical manifestations of emotional distress,

 embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and enjoyment

 of life, was prevented and will continue to be prevented from performing her daily

 activities and obtaining the full enjoyment of life, and may sustain loss of earnings

 and earning capacity. As a result of such intentional conduct, Plaintiff is entitled to

 punitive damages in an amount sufficient to punish Defendant Baird and to deter

 others from like conduct.

               WHEREFORE, Plaintiff respectfully request that this Honorable Court

enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.

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                                  COUNT THREE
                          VIOLATION OF CIVIL RIGHTS
                          DISABILITY DISCRIMINATION
                                  42 U.S.C. § 1983
                       DEFENDANTS LPS, G C P S , AND BAIRD


        116.    Plaintiff reasserts and re-allege each and every allegation contained in the preceding

paragraphs as if fully set forth herein.

        117.    Defendant Baird was at all times relevant to this cause of action an employee of a

public school, was acting as a public-school employee, and was acting within the scope of his

employment and under the color of state law.

        118.    The Equal Protection Clause of the United States Constitution prevents state actors

from making distinctions that burden a fundamental right, target a suspect class, or intentionally

treat one individual differently from others similarly situated without any rational basis.

        119.    At all times relevant to this cause of action, F.A. DOE had the rights under the

Fourteenth Amendment of the United States Constitution to equal protection under the law.

        120.    F.A. DOE is considered a disabled individual and is therefore part of a protected

class of individuals under the Equal Protection Clause of the United States Constitution.

        121.    The Equal Protection Clause of the United States Constitution forbids a

governmental actor from treating disabled individuals differently where those actions are not

rationally related to some legitimate governmental purpose.

        122.    Defendant Baird engaged in physical sexual abuse of F.A. DOE, which violated

F.A. DOE’s rights under the Equal Protection Clause of the United States Constitution in that such

physical sexual abuse was not inflicted on young children in the LPS district who did not have

disabilities.


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       123.    Defendant Baird’s actions of treating F.A. DOE differently from similarly situated

non-disabled students by inflicting physical sexual abuse on F.A. DOE when such physical sexual

abuse was not inflicted on similarly situated non-disabled students was not rationally related to any

legitimate governmental purpose.

       124.    Defendant Baird’s conduct as described herein was objectively unreasonable and

any reasonable governmental official in Defendant Baird’s position, at all times relevant to this

cause of action, would have known that treating F.A. DOE differently than similarly situated non-

disabled students where such treatment was not rationally related to any legitimate governmental

purpose was a violation of F.A. DOE’s constitutional rights under the Equal Protection Clause of

the United States Constitution

       125.    Defendant Baird is not entitled to qualified immunity.

       126.    As a direct and/or proximate result of Defendants LPS, GCPS, and

Baird’s violation of F.A. DOE’s rights under the Equal Protection Clause of the

United States Constitution, F.A. DOE has suffered and will continue to suffer, loss of

educational opportunities, deprivation of equal access of education, pain of mind and

body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and enjoyment

of life, was prevented and will continue to be prevented from performing her daily

activities and obtaining the full enjoyment of life, and may sustain loss of earnings

and earning capacity. As a result of such intentional conduct, Plaintiff is entitled to

punitive damages in an amount sufficient to punish Defendant Baird and to deter

others from like conduct.

               WHEREFORE, Plaintiff respectfully request that this Honorable Court

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enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.

                                COUNT FOUR
                       FAILURE TO TRAIN AND SUPERVISE
                                42 U.S.C. § 1 983
                          DEFENDANTS LPS AND GCPS


        127.   Plaintiff realleges and incorporates by reference the allegations

 contained in the previous paragraphs.

        128.   LPS and GCPS have the ultimate responsibility and authority to train and

 supervise its employees, agents, and/or representatives, including Defendant Baird

 and all faculty and staff regarding their duties toward students, faculty, staff, and

 visitors.

        129.   LPS and GCPS failed to train and supervise its employees, agents,

 and/or representatives, including all faculty and staff, regarding the following

 duties:

               A. Perceive, report, and stop inappropriate sexual conduct on campus;

               B. Provide diligent supervision over disabled-students and other
                  individuals;

               C. Report suspected incidents of sexual abuse or sexual assault;

               D. Ensure the safety of all students, faculty, staff, and visitors to
                  Defendant campuses' premises;

               E. Provide a safe environment for all students, faculty, staff, and visitors
                  to Defendant premises free from sexual harassment; and,

               F. Properly train faculty and staff to be aware of their individual
                  responsibility for creating and maintaining a safe environment.



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       130.    The above list of duties is not exhaustive.

       131.   LPS and GCPS failed to adequately train teachers, staff, and others

regarding the aforementioned duties which led to violations of F.A. DOE’s rights.

       132.   As a result, LPS and GCPS deprived Plaintiff of rights secured by the Fourteenth

Amendment to the United States Constitution in violation of 42 U.S.C. §1983.

       133.   Defendant agent Oquist was at all times relevant to this cause of action an

employee and/or administrator of LPS, was acting as an employee and/or administrator

of LPS and was acting within the scope of her employment and under the color of state

law.

       134.   Defendant agent Oquist at all times relevant to this cause of action held a

supervisory and administrative role and had decision-making authority at LPS to enact

policies, procedures, regulations, or customs regarding, but not limited to, the

endangerment and abuse of students and/or children, and had final decision- making

authority on matters that included, but were not limited to, training, hiring, retaining,

staffing, investigating, and/or disciplining employees and personnel.

       135.   Defendant agent Bohnwagner was at all times relevant to this cause of

action an employee and/or administrator of GCPS, was acting as an employee and/or

administrator of GCPS and was acting within the scope of her employment and under

the color of state law.


       136.   Defendant agent Bohnwagner at all times relevant to this cause of action

held a supervisory and administrative role and had decision-making authority at GCPS


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to enact policies, procedures, regulations, or customs regarding, but not limited to, the

endangerment and abuse of students and/or children, and had final decision-making

authority on matters that included, but were not limited to, training, hiring, retaining,

staffing, investigating, and/or disciplining employees and personnel.


       137.   Defendant agent Fisher was at all times relevant to this cause of action an

employee and/or administrator of GCPS, was acting as an employee and/or

administrator of GCPS and was acting within the scope of her employment and under

the color of state law.


       138.   Defendant agent Fisher at all times relevant to this cause of action held a

supervisory and administrative role and had decision-making authority at GCPS to

enact policies, procedures, regulations, or customs regarding, but not limited to, the

endangerment and abuse of students and/or children, and had final decision-making

authority on matters that included, but were not limited to, training, hiring, retaining,

staffing, investigating, and/or disciplining employees and personnel.


       139.   Defendants agents Oquist, Fisher, Bohnwagner, and Defendants LPS, and

GCPS were deliberately indifferent to F.A. DOE’s constitutional and other rights by

failing to supervise or otherwise take action to prevent the constitutional violations as

alleged throughout this complaint when Defendants agents Oquist, Fisher,

Bohnwagner, and Defendants LPS, and GCPS had knowledge of what Defendant Baird

did and would engage in conduct that created the substantial risks that F.A. DOE would

be sexually abused that would result in violation of F.A. DOE’s constitutional rights as

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set forth throughout this Complaint.

         140.   As a direct and/or proximate result of LPS and GCPS's actions and/or

inactions, F.A. DOR suffered discomfort and additional medical problems, and will

continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, and enjoyment of life, was prevented and will continue to

be prevented from performing her daily activities and obtaining the full enjoyment of

life, and may sustain loss of earnings and earning capacity. As a result of such

intentional conduct, Plaintiff is entitled to punitive damages in an amount sufficient to

punish Defendant Baird and to deter others from like conduct.

                WHEREFORE, Plaintiff respectfully request that this Honorable Court

enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.

                                    COUNT FIVE
                                 GROSS NEGLIGENCE
                            DEFENDANTS LPS, GCPS, and BAIRD


         141.   Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

         142.   LPS and GCPS owed F.A. DOE a duty to use due care to ensure her

safety and freedom from sexual assault, abuse, and molestation while

interacting with their employees, representatives, and/or agents, including Defendant

Baird.


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       143.   Defendant Baird owed F.A. DOE a duty of due care in carrying out

educational duties as an employee, agent, and/or representative of LPS and GCPS.

       144.   By receiving treatment and education from Defendant Baird in the

course of his employment, agency, and/or representation of LPS and GCPS, a special,

confidential, and fiduciary relationship between F.A. DOE and Defendant Baird

was created, resulting in Defendant Baird owing F.A. DOE a duty to use due care.

       145.   LPS and GCPS failure to adequately supervise Defendant Baird,

especially after LPS knew or should have known of complaints regarding his

nonconsensual sexual touching and assaults during "treatments," was so reckless as

to demonstrate a substantial lack of concern for whether an injury would result to F.A.

DOE.

       146.   Defendant Baird’s conduct in sexually assaulting, abusing, and

molesting F.A. DOE in the course of his employment, agency, and/or representation

of LPS and GCPS under the guise of rendering "education/treatment" was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to

F.A. DOE.

       147.   LPS and GCPS's conduct demonstrated a willful disregard for

precautions to ensure F.A. DOE’s safety.

       148.   LPS and GCPS's conduct, as described above, demonstrated a willful

disregard for substantial risks to F.A. DOE.

       149.   LPS and GCPS breached duties owed to F.A. DOE and were grossly

negligent when they conducted themselves by the actions described above, said acts

having been committed with reckless disregard for F.A. DOE’s health, safety,
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Constitutional and/or statutory rights, and with a substantial lack of concern as to

whether an injury would result.

       150.    Oquist, Fisher, and Bohnwagner, acting as agents of LPS and GCPS, allowed

Defendant Baird to engage in conduct that created the substantial risks that F.A. DOE would be

sexually abused.

       151.    Oquist, Fisher, and Bohnwagner, acting as agents of LPS and GCPS, by doing so

were grossly negligent and acted so recklessly as to demonstrate a substantial lack of concern that

injury would result, and/or acted in an unnecessary or willful or wanton manor toward F.A. DOE,

and were indifferent to the substantial risks that physical and emotional sexual abuse would be

inflicted on F.A. DOE, and nevertheless maliciously carried out those acts.

       152.    Oquist, Fisher, and Bohnwagner, acting as agents of LPS and GCPS, conduct in

that regard, together or separately, were the proximate cause of damages to F.A. DOE in that it was

foreseeable that such conduct, together or separately, would result in sexual molestation of F.A.

DOE by Defendant Baird.

       153.    As a direct and/or proximate result of Defendants LPS, Baird and

GCPS's actions and/or inactions, F.A. DOE suffered discomfort and additional

medical problems, and will continue to suffer pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, and enjoyment of life, was prevented and

will continue to be prevented from performing her daily activities and obtaining the

full enjoyment of life, and may sustain loss of earnings and earning capacity. As a

result of such intentional conduct, Plaintiff is entitled to punitive damages in an amount

sufficient to punish Defendant Baird and to deter others from like conduct.

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              WHEREFORE, Plaintiff respectfully request that this Honorable Court

enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.

                                COUNT SIX
                               NEGLIGENCE
                       DEFENDANTS LPS, GCPS, and BAIRD

       154.   Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

       155.   LPS and GCPS owed F.A. DOE a duty of ordinary care to ensure her

safety and freedom from sexual assault, abuse, and molestation while interacting

with their employees, representatives, and/or agents.

       156.   By treatment and education from Defendant Baird in his capacity as an

employee, agent, and/or representative of LPS and GCPS, a special, confidential, and

fiduciary relationship between F.A. DOE and Defendant Baird was created, resulting

in Defendant Baird owing F.A. DOE a duty to use ordinary care.

       157.   Defendant Baird owed F.A. DOE a duty of ordinary care.

       158.   LPS and GCPS’s failure to adequately train and supervise Defendant

Baird breached the duty of ordinary care.

       159.   LPS and GCPS had notice through its own employees, agents, and/or

representatives of complaints of a sexual nature related to Defendant Baird’s

purported "education/treatments" with young girls.

       160.   LPS and GCPS should have known of the foreseeability of sexual abuse


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with respect to youth.

       161.   LPS and GCPS’s failure to properly investigate, address, and remedy

complaints regarding Defendant Baird’s conduct was a breach of ordinary care.

       162.   Defendant Baird’s conduct in sexually assaulting, abusing, and

molesting F.A. DOE in the course of his employment, agency, and/or representation

of LPS and GCPS was a breach of the duty to use ordinary care.

       163.   As a direct and/or proximate result of Defendants LPS, Baird, and

GCPS’s actions and/or inactions, F.A. DOE suffered discomfort and additional

medical problems, and will continue to suffer pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, and enjoyment of life, was prevented and

will continue to be prevented from performing her daily activities and obtaining the

full enjoyment of life, and may sustain loss of earnings and earning capacity. As a

result of such intentional conduct, Plaintiff is entitled to punitive damages in an amount

sufficient to punish Defendant Baird and to deter others from like conduct.

              WHEREFORE, Plaintiff respectfully request that this Honorable Court

enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.



                                COUNT SEVEN
                             VICARIOUS LIABILITY
                           DEFENDANTS LPS AND GCPS



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       164.   Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

       165.   Vicarious liability is indirect responsibility imposed by operation of law

where an employer is bound to keep its employees within their proper bounds and is

responsible if it fails to do so.

       166.   Vicarious liability essentially creates agency between the principal and

its agent, so that the principal is held to have done what the agent has done.

       167.   LPS and GCPS employed and/or held Defendant Baird out to be its

agent and/or representative from approximately 2013 to 2021.

       168.   LPS and GCPS are vicariously liable for the actions of Defendant Baird,

as described above, that were performed during the course of his employment,

representation, and/or agency with LPS and GCPS and while he had unfettered access

to young female students on the districts campus’ and premises.

       169.   As a direct and/or proximate result of LPS and GCPS actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will

continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, and enjoyment of life, was prevented and will continue to

be prevented from performing her daily activities and obtaining the full enjoyment of

life, and may sustain loss of earnings and earning capacity. As a result of such

intentional conduct, Plaintiff is entitled to punitive damages in an amount sufficient to

punish Defendant Baird and to deter others from like conduct.

              WHEREFORE, Plaintiff respectfully request that this Honorable Court

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enter judgment in her favor and against Defendants, jointly and severally, in an amount

in excess of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or

exemplary damages so wrongfully incurred, as the Court deems just.



                                COUNT EIGHT
                           EXPRESS/IMPLIED AGENCY
                           DEFENDANTS LPS AND GCPS


        170.   Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

        171.   An agent is a person who is authorized by another to act on its behalf.

        172.   LPS and GCPS intentionally or negligently made representations that

Defendant Baird was their employee, agent, and/or representative.

        173.   On the basis of those representations, F.A. DOE reasonably believed

that Defendant Baird was acting as an employee, agent, and/or representative of LPS

and GCPS.

        174.   F.A. DOE was injured as a result of Defendant Baird's sexual assault,

abuse, and molestation, as described above, which were acts performed during the

course of his employment, agency, and/or representation with LPS and GCPS and

while he had unfettered access to young female students.

        175.   F.A. DOE was injured because she relied on LPS and GCPS to provide

employees, agents, and/or representatives who would exercise reasonable skill and

care.

        176.   As a direct and/or proximate result of LPS and GCPS actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems. and will
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continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, and enjoyment of life, was prevented and will continue to be

prevented from performing her daily activities and obtaining the full enjoyment of

life, and may sustain loss of earnings and earning capacity. As a result of such

intentional conduct, Plaintiff is entitled to punitive damages in an amount sufficient to

punish Defendant Baird and to deter others from like conduct.

               WHEREFORE, Plaintiff respectfully request that this Honorable Court enter

judgment in her favor and against Defendants, jointly and severally, in an amount in excess of

$75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or exemplary damages

so wrongfully incurred, as the Court deems just.

                                   COUNT NINE
                              NEGLIGENT SUPERVISION
                             DEFENDANTS LPS AND GCPS


       177.    F.A. DOE realleges and incorporates by reference the allegations

contained in the previous paragraphs.

       178.    LPS and GCPS had a duty to provide reasonable supervision of their

employee, agent, and/or representative, Defendant Baird, while he was in the course

of his employment, agency, or representation with LPS and GCPS and while he

interacted with young female students including F.A. DOE.

       179.    LPS and GCPS breached their duty to provide reasonable supervision of

Defendant Baird, and permitted Defendant Baird, who was in a position of trust and

authority, to commit the acts against F.A. DOE.

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        180.   The aforementioned sexual abuse occurred while F.A. DOE and

Defendant Baird were on the premises of Douglas 3-4 Campus, and while Defendant

Baird was acting in the course of his employment, agency, and/or representation of

LPS and GCPS.

        181.   LPS and GCPS tolerated, authorized, and/or permitted a custom, policy,

practice, or procedure of insufficient supervision, and failed to adequately screen,

counsel, or discipline such individuals, with the result that Defendant Baird was

allowed to violate the rights of persons such as F.A. DOE with impunity.

        182.   As a direct and/or proximate result of LPS and GCPS actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will

continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, and enjoyment of life, was prevented and will continue to be

prevented from performing her daily activities and obtaining the full enjoyment of

life, and may sustain loss of earnings and earning capacity. As a result of such

intentional conduct, Plaintiff is entitled to punitive damages in an amount sufficient to

punish Defendant Baird and to deter others from like conduct.

       183.    WHEREFORE, Plaintiff respectfully request that this Honorable Court enter

judgment in her favor and against Defendants, jointly and severally, in an amount in excess of

$75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or exemplary damages

so wrongfully incurred, as the Court deems just.

                              COUNT TEN
                 NEGLIGENT FAILURE TO WARN OR PROTECT
                       DEFENDANTS LPS AND GCPS
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      184.    Plaintiff realleges and incorporates by reference the allegations

contained in the previous paragraphs.

      185.    LPS and GCPS knew, or should have known, that Defendant Baird

posed a risk of harm to F.A. DOE and those in her situation.

      186.    As early as 2019, or even earlier, the LPS and GCPS had direct and/or

constructive knowledge as to the dangerous conduct of Defendant Baird and failed

to act reasonably and responsibly in response.

      187.    LPS and GCPS knew, or should have known, that Defendant Baird

committed sexual assault, abuse, and molestation and/or was continuing to engage in

such conduct.

       188.     LPS and GCPS had a duty to warn or protect F.A. DOE and others in

her situation against the risk of injury by Defendant Baird.

       189.     The duty to disclose this information arose by the special, trusting,

confidential, and fiduciary relationship between Defendant Baird, as an employee,

agent, and or representative of LPS and GCPS, and F.A. DOE.

       190.     LPS and GCPS breached said duty by failing to warn F.A. DOE and/or

by failing to take reasonable steps to protect F.A. DOE from Defendant Baird.

       191.     LPS and GCPS breached its duties to protect F.A. DOE by failing to:

                       a. Respond to      allegations   of sexual     assault,   abuse,   and
                          molestation;

                       b. Detect, and/or uncover evidence of sexual assault,
                          abuse, and molestation; and

                       c. Investigate, adjudicate, and terminate Defendant

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                           Baird's employment.


       192.    LPS and GCPS failed to adequately screen, counsel, and/or discipline

Defendant Baird for physical and/or mental conditions that might have rendered him unfit to

discharge the duties and responsibilities of an employee at an educational institution, resulting

in violations of F.A. DOE’s rights.

       193. LPS and GCPS willfully refused to notify, give adequate warning, and

implement appropriate safeguards to protect F.A. DOE from Defendant Baird's

conduct. As a direct and/or proximate result of LPS and GCPS’s actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will continue

to suffer pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and enjoyment of

life, was prevented and will continue to be prevented from performing her daily activities and

obtaining the full enjoyment of life, and may sustain loss of earnings and earning capacity. As a

result of such intentional conduct, Plaintiff is entitled to punitive damages in an amount

sufficient to punish Defendant Baird and to deter others from like conduct.


           WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment

in her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00,

plus costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.

                              COUNT ELEVEN
                  NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                         DEFENDANTS LPS AND GCPS
       194. Plaintiff realleges and incorporates by reference the allegations contained

in the previous paragraphs.

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               195. LPS and GCPS breached their duty to take reasonable protective

        measures to protect F.A. DOE from the risk of sexual abuse and/or sexual assault by

        Defendant Baird, such as the failure to properly train or educate F.A. DOE and

        other individuals about how to avoid such a risk.


               196. LPS and GCPS failed to implement reasonable safeguards to:

                       a. Prevent acts of sexual assault, abuse, and molestation by Defendant
                          Baird;

                       b. Avoid placing Defendant Baird in positions where he would be in
                          unsupervised contact and interaction with F.A. DOE and other young
                          students.

       197.    As a direct and/or proximate result of LPS and GCPS’s actions and/or inactions,

F.A. DOE suffered discomfort and additional medical problems, and will continue to suffer

pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and

enjoyment of life, was prevented and will continue to be prevented from performing her


daily activities and obtaining the full enjoyment of life, and may sustain loss of earnings and

earning capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive

damages in an amount sufficient to punish Defendant Baird and to deter others from like

conduct.

           WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully incurred,

as the Court deems just.


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                                       COUNT TWELVE
                                   NEGLIGENT RETENTION
                                  DEFENDANTS LPS AND GCPS


      198.    Plaintiff realleges and incorporates by reference the allegations contained in the

previous paragraphs.

      199.    LPS and GCPS had a duty when credentialing, hiring, retaining, screening,

checking, regulating, monitoring, and supervising employees, agents, and/or representatives

to exercise due care, but they failed to do so.

      200.    LPS and GCPS were negligent in the retention of Defendant Baird as an

employee, agent, and/or representative in their failure to adequately investigate, report,

and address complaints about his conduct of which they knew or should have known.

      201.    LPS and GCPS were negligent in the retention of Defendant Baird as an

employee, agent, and/or representative after they discovered, or reasonably should have

discovered, Defendant Baird's conduct which reflected a propensity for sexual misconduct.

      202.    LPS and GCPS’s failure to act in accordance with the standard of care resulted

in Defendant Baird gaining access to, sexually abusing, and/or sexually assaulting F.A. DOE

and an unknown number of other individuals.

      203.    The aforementioned negligence in the credentialing, hiring, retaining,

screening, checking, regulating, monitoring, and supervising of Defendant Baird created a

foreseeable risk of harm to F.A. DOE.

      204.    As a direct and/or proximate result of LPS and GCPS’s actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will continue

to suffer pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,


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and enjoyment of life, was prevented and will continue to be prevented from performing her

daily activities and obtaining the full enjoyment of life, and may sustain loss of earnings and

earning capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive

damages in an amount sufficient to punish Defendant Baird and to deter others from like

conduct.

           WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully incurred,

as the Court deems just.


                                  COUNT THIRTEEN
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                             DEFENDANTS LPS AND GCPS


       205.    Plaintiff realleges and incorporates by reference the allegations contained in

the previous paragraphs.

       206.    LPS and GCPS allowed Defendant Baird to be in a position where he could

sexually assault, abuse, and molest young female students.

       207.    A reasonable person would not expect LPS and GCPS to tolerate or permit

their employee or agent to carry out sexual assault, abuse, or molestation after they knew or

should have known of complaints and claims of sexual assault and abuse occurring during

Defendant Baird's "treatments."

       208.    A reasonable person would not expect LPS and GCPS to be incapable of

supervising Defendant Baird and/or preventing Defendant Baird from committing acts of

sexual assault, abuse, and molestation.

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       209.    LPS and GCPS conduct, as described above, was intentional and/or reckless.

       210.    As a direct and/or proximate result of LPS and GCPS actions and/or inactions,

F.A. DOE suffered discomfort and additional medical problems, and will continue to suffer

pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and

enjoyment of life, was prevented and will continue to be prevented from performing her

daily activities and obtaining the full enjoyment of life, and may sustain loss of earnings

and earning capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive

damages in an amount sufficient to punish Defendant Baird and to deter others from like conduct.

          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.



                                  COUNT FOURTEEN
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                  DEFENDANT BAIRD

       211.    Plaintiff reincorporates and re-alleges each and every preceding paragraph as if fully

set forth herein.

       212.    Defendant Baird’s conduct, as set forth above, and in particular by inflicting

physical and emotional sexual abuse on F.A. DOE, was intentional or reckless, extreme,

outrageous, and of such character as to be intolerable in a civilized society.

       213.    Defendant Baird’s conduct meets the elements of “criminal sexual conduct” as that

term is defined under Michigan law, and in particular, Defendant Baird engaged in sexual contact

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with F.A. DOE by forcing F.A. Doe to grab Defendant Baird’s penis which was done for no other

purpose but for Defendant Baird’s sexual arousal or gratification and/or done for a sexual purpose.

       214.   Defendant Baird’s conduct was for an ulterior motive or purpose, including, but not

limited to, to cause F.A. DOE to suffer severe emotional distress.

       215.   Defendant Baird’s conduct has caused and will continue to cause F.A. DOE to suffer

severe emotional distress.

       216.   Defendant Baird’s conduct, as set forth above, was undertaken during the course of

his employment and he was acting, or reasonably believed that he was acting, within the scope of

his authority, was not undertaken in good faith but rather with malice and was discretionary.

       217.   Defendant Baird is not entitled to governmental immunity under Michigan law.

       218.   As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s

actions and/or inactions, F.A. DOE suffered discomfort and additional medical problems,

and will continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, and enjoyment of life, was prevented and will continue to be prevented

from performing her daily activities and obtaining the full enjoyment of life, and has

sustained and may sustain loss of earnings and earning capacity. As a result of such

intentional conduct, Plaintiff is entitled to punitive damages in an amount sufficient to punish

Defendant Baird and to deter others from like conduct.

          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.

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                                      COUNT FIFTEEN
                               FRAUD AND MISREPRESENTATION
                                   DEFENDANTS LPS GCPS

      219.    Plaintiff realleges and incorporates by reference the allegations contained in

the previous paragraphs.

      220.    From approximately 2013 to September 2021, LPS and GCPS represented to

F.A. DOE and the public that Defendant Baird was a competent and safe educator.

      221.    By representing that Defendant Baird was a Teacher Consultant for the

Visually Impaired and a Certified Orientation and Mobility Specialist for LPS and GCPS,

the LPS and GCPS represented to F.A. DOE and the public that Defendant Baird was safe,

trustworthy, of high moral and ethical repute, and that F.A. DOE and the public need not

worry about being harmed by Defendant Baird.

      222.    The representations were false when they were made as Defendant Baird had

and was continuing to sexually assault, abuse, and molest F.A. DOE and an unknown

number of other individuals.

      223.    As of 2019, or even earlier, LPS and GCPS knew that their representations of

Defendant Baird were false, as victims had complained of Defendant Baird’s conduct to

LPS and GCPS representatives.

      224.    Although LPS and GCPS were informed of Defendant Baird's conduct, they

failed to investigate, remedy, or in any way address those victims' complaints.

      225.    LPS and GCPS continued to hold Defendant Baird out as a competent and safe

specialist for visually impaired students.

      226.    F.A. DOE and subsequent victims relied on the assertions of LPS and GCPS

and continued to seek treatment from Defendant Baird in the wake of known concerns and

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dangers.

       227.    F.A. DOE was subjected to sexual assault, abuse, and molestation as a result

of LPS and GCPS's fraudulent misrepresentations regarding Defendant Baird.

       228.    As a direct and/or proximate result of LPS and GCPS’s actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will continue

to suffer pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

and enjoyment of life, was prevented and will continue to be prevented from performing her

daily activities and obtaining the full enjoyment of life, and may sustain loss of earnings and

earning capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive damages

in an amount sufficient to punish Defendant Baird and to deter others from like conduct.

           WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.


                               COUNT SIXTEEN
                       EXCESSIVE FORCE VIOLATION OF
                CONSTITUTIONAL RIGHTS UNDER THE FOURTH AND
                FOURTEENTH AMENDMENTS OF THE UNITED STATES
                   CONSTITUTION PURSUANT TO 42 U.S.C. § 1983 –
                              DEFENDANT BAIRD

       229.    Plaintiff reasserts and re-alleges each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

       230.    Defendant Baird was at all times relevant to this cause of action an employee of a

public school, acting as a public-school employee, and acting within the scope of his employment

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and under the color of state law.

          231.   At all times relevant to this cause of action, F.A. DOE was afforded the

constitutional rights under the Fourth and Fourteenth Amendments of the United States

Constitution to be free from the use of unnecessary, unreasonable, illegal, and excessive force.

          232.   At all times relevant to this cause of action, Defendant Baird owed a duty to the

public, but especially to F.A. DOE, to act in a lawful and reasonable manner, and to avoid the use

of unnecessary, unreasonable, illegal, and excessive force, in violation of F.A. DOE’s

constitutional rights under the Fourth and Fourteenth Amendments of the United States

Constitution.

          233.   Defendant Baird engaged in physical sexual abuse of F.A. DOE, which constituted

unnecessary, unreasonable, illegal, and excessive force, in violation of F.A. DOE’s constitutional

rights under the Fourth and Fourteenth Amendments of the United States Constitution, as well as

violations of the criminal laws of the State of Michigan and violations of the policies and

procedures that were or should have been in effect at Defendant LPS and/or Defendant GCPS.

          234.   Defendant Baird’s conduct as described herein was objectively unreasonable and

any reasonable governmental official in Defendant Baird’s position at all times relevant to this

cause of action would have known that the use of physical force and/or physical sexual abuse under

the circumstances as they were presented to him was unnecessary, unreasonable, illegal, and

excessive and would have been under the same or similar conditions that existed and as alleged

herein.

          235.   The use of unnecessary, unreasonable, illegal, and excessive force by Defendant

Baird against F.A. DOE amounted to a violation of F.A. DOE’s rights under the Fourth and

Fourteenth Amendment of the United States Constitution, and those rights were clearly established

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at all times relevant to this cause of action, and which a reasonable person and governmental

official in Defendant Baird’s position would have known.

       236.     Defendant Baird is not entitled to qualified immunity.

       237.     As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s

actions and/or inactions, F.A. DOE suffered discomfort and additional medical problems,

and will continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, and enjoyment of life, was prevented and will continue to be prevented

from performing her daily activities and obtaining the full enjoyment of life, and may sustain

loss of earnings and earning capacity. As a result of such intentional conduct, Plaintiff is entitled

to punitive damages in an amount sufficient to punish Defendant Baird and to deter others from

like conduct.

          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.

                               COUNT SEVENTEEN
                      SUBSTANTIVE DUE PROCESS VIOLATION
                OF CONSTITUTIONAL RIGHTS UNDER THE FOURTEENTH
                 AMENDMENT OF THE UNITED STATES CONSTITUTION
                   PURSUANT TO 42 U.S.C. § 1983 –DEFENDANT BAIRD


       238.     Plaintiff reasserts and re-alleges each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

       239.     Defendant Baird was at all times relevant to this cause of action an employee and/or

administrator of a public school, was acting as a public-school employee and/or administrator and
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was acting within the scope of his employment and under the color of state law.

       240.    At all times relevant to this cause of action, F.A. DOE had the rights under the Due

Process Clause under the Fourteenth Amendment of the United States Constitution not to be

deprived of life without due process.

       241.    At all times relevant to this cause of action, F.A. DOE was afforded the rights under

the Due Process Clause under the Fourteenth Amendment of the United States Constitution to

personal security and bodily integrity, including the right to be free from sexual abuse at the hands

of a school employee and particularly when it is not administered for any pedagogical purpose but

only for the gratification of Defendant Baird.

       242.    At all times relevant to this cause of action, F.A. DOE had the right under the Due

Process Clause under the Fourteenth Amendment of the United States Constitution to be free from

arbitrary government conduct that lacks all socially redeeming value.

       243.    Defendant Baird engaged in physical sexual abuse of F.A. DOE, which constituted

unnecessary, unreasonable, illegal, and excessive force, in violation of F.A. DOE’s rights under

the Due Process Clause under the Fourteenth Amendment of the United States Constitution to

personal security and bodily integrity, and to be free from state actions that deprive a person of

life, liberty, or property without due process of law, as well as violations of the criminal laws of

the State of Michigan and violations of the policies and procedures that were or should have been

in effect at Defendant LPS and/or Defendant GCPS.

       244.    Those rights were at all times relevant to this cause of action clearly established in

that any reasonable governmental official in Defendant Baird’s position would have known that

such rights were being violated when Defendant Baird inflicted physical sexual abuse on F.A.

DOE has alleged herein.

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       245.    The acts of physical sexual and emotional abuse by Defendant Baird of F.A. DOE,

under all circumstances relevant to this cause of action caused injury so severe, was so antithetical

to the child’s special needs presented, and was so inspired by malice or sadism rather than a mere

careless or unwise excess of zeal that it amounted to a brutal and inhumane abuse of official power

that is literally shocking to the conscience.

       246.    The acts of physical and emotional abuse by Defendant Baird of F.A. DOE, under

all circumstances relevant to this cause of action lacked any and all pedagogical purpose or

justification and lacked any socially redeeming value.

       247.    The acts of physical sexual abuse by Defendant Baird of F.A. DOE, under all

circumstances relevant to this cause of action amount to deliberate indifference to the risk that F.A.

DOE would suffer harm and to F.A. DOE’s health and safety of which Defendant Baird was

specifically aware and yet disregarded.

       248.    Defendant Baird’s deliberate indifference under the circumstances relevant to this

cause of action reflect a failure to even care about the health and safety of F.A. DOE and such

deliberate indifference under such circumstances thus literally shocks the conscience.

       249.    The use of unnecessary, unreasonable, illegal, and excessive force by Defendant

Baird against F.A. DOE amounted to a violation of F.A. DOE’s rights under the Due Process

Clause under the Fourteenth Amendment to the United States Constitution to personal security and

bodily integrity, and to be free from state actions that deprive a person of life, liberty, or property

without due process of law, and those rights were clearly established at all times relevant to this

cause of action, and which a reasonable person and governmental official in Defendant Baird’s

position would have known.

       250.    Defendant Baird’s conduct as described herein was objectively unreasonable and
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any reasonable governmental official in Defendant Baird’s position at all times relevant to this

cause of action would have known that the use of physical force and physical sexual abuse under

the circumstances as they were presented to him was unnecessary, unreasonable, illegal, and

excessive under the same or similar conditions that existed as alleged herein.

       251.     Defendant Baird is not entitled to qualified immunity.

       252.     As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s

actions and/or inactions, F.A. DOE suffered discomfort and additional medical problems,

and will continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, and enjoyment of life, was prevented and will continue to be prevented

from performing her daily activities and obtaining the full enjoyment of life, and may sustain

loss of earnings and earning capacity. As a result of such intentional conduct, Plaintiff is entitled

to punitive damages in an amount sufficient to punish Defendant Baird and to deter others from

like conduct.

          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.


                                       COUNT EIGHTEEN
                                           BATTERY
                                       DEFENDANT BAIRD


       253.     Plaintiff reincorporates and re-alleges each and every preceding paragraph as if fully

set forth herein.

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       254.     Defendant Baird’s conduct, as set forth above, constituted a willful and harmful or

offensive touching of F.A. DOE. Defendant Baird’s conduct meets the elements of “criminal

sexual conduct” as that term is defined under Michigan law, and in particular, Defendant Baird

engaged in sexual contact with F.A. DOE by forcing her to grab Defendant Baird’s penis for no

other purpose but for sexual arousal or gratification and/or done for a sexual purpose.

       255.     In addition or in the alternative thereto the conduct meets the elements of “criminal

sexual conduct” as that term is defined under Michigan law because Baird forced F.A. DOE to

touch Baird’s penis.

       256.     Defendant Baird intended the acts that caused the willful and harmful or offensive

touching of F.A. DOE.

       257.     Defendant Baird’s conduct, as set forth above, was undertaken during the course of

his employment and he was acting, or reasonably believed that he was acting, within the scope of

his authority, was not undertaken in good faith but rather with malice and was discretionary.

       258.     Defendant Baird is not entitled to governmental immunity under Michigan law.

       259.     As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s

actions and/or inactions, F.A. Doe suffered discomfort and additional medical problems, and

will continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, and enjoyment of life, was prevented and will continue to be prevented

from performing her daily activities and obtaining the full enjoyment of life, and may sustain

loss of earnings and earning capacity. As a result of such intentional conduct, Plaintiff is entitled

to punitive damages in an amount sufficient to punish Defendant Baird and to deter others from

like conduct.

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          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.

                                      COUNT NINETEEN
                                          ASSAULT
                                      DEFENDANT BAIRD


       260.    Plaintiff reincorporates and re-alleges each and every preceding paragraph as if fully

set forth herein.

       261.    The surrounding circumstances of Defendant Baird’s conduct created a well-

founded apprehension in F.A. DOE of imminent harmful and offensive contact and injury.

       262.    The surrounding circumstances of Defendant Baird’s conduct created, from F.A.

DOE’s perspective and belief, an apparent present ability for Defendant Baird to accomplish

harmful and offensive contact and injury.

       263.    Defendant Baird’s conduct, as set forth above, was undertaken during the course of

his employment and he was acting, or reasonably believed that he was acting, within the scope of

his authority, was not undertaken in good faith but rather with malice and was discretionary.

       264.    Defendant Baird is not entitled to governmental immunity under Michigan law.

       265.    As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s

actions and/or inactions, F.A. DOE suffered discomfort and additional medical problems,

and will continue to suffer pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

grief, humiliation, and enjoyment of life, was prevented and will continue to be prevented


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from performing her daily activities and obtaining the full enjoyment of life, and may

sustain loss of earnings and earning capacity. As a result of such intentional conduct, Plaintiff

is entitled to punitive damages in an amount sufficient to punish Defendant Baird and to deter

others from like conduct.

          WHEREFORE, Plaintiff respectfully request that this Honorable Court enter judgment in

her favor and against Defendants, jointly and severally, in an amount in excess of $75,000.00, plus

costs, interest, and attorney fees, as well as punitive and/or exemplary damages so wrongfully

incurred, as the Court deems just.

                               COUNT TWENTY
              ELLIOTT-LARSEN CIVIL RIGHTS ACT (MCL 37.2101 et seq.) –
                       DEFENDANTS LPS, GCPS, AND BAIRD


       266.    Plaintiff reincorporates and re-alleges each and every preceding paragraph as if fully

set forth herein.

       267.    MCL 37.2102(1) sets forth that “[t]he opportunity to obtain employment, housing

and other real estate, and the full and equal utilization of public accommodations, public service,

and educational facilities without discrimination because of religion, race, color, national origin,

age, sex, height, weight, familial status, or marital status as prohibited by this act, is recognized

and declared to be a civil right.”

       268.    Defendants LPS, GCPS, and Baird are each a “person” as that term is defined under

MCL 37.2103(g) and are therefore subject to the Elliott-Larsen Civil Rights Act, MCL 37.2101 et

seq.

       269.    Defendants LPS and GCPS are each a “political subdivision” as that term is defined

under MCL 37.2103(h) and are therefore subject to the Elliott- Larsen Civil Rights Act, MCL


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37.2101 et seq.

       270.    Defendants LPS and GCPS are each a “place of public accommodation” as that term

is defined under MCL 37.2301 and are therefore subject to the Elliott-Larsen Civil Rights Act,

MCL 37.2101 et seq.

       271.    MCL 37.2302 sets forth in relevant part that a “person shall not…deny an individual

the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of a place of public accommodation or public service because of religion, race,

color, national origin, age, sex, or marital status.”

       272.    Defendants LPS and GCPS are each an “educational institution” as that term is

defined under MCL 37.2401 and are therefore subject to the Elliott- Larsen Civil Rights Act, MCL

37.2101 et seq.

       273.    MCL 37.2402 sets forth that an “educational institution” shall not do any of the

following:

              1.     Discriminate against an individual in the full utilization of or benefit from the

                     institution, or the services, activities, or programs provided by the institution

                     because of religion, race, color, national origin, or sex.

              2.     Exclude, expel, limit, or otherwise discriminate against an individual seeking

                     admission as a student or an individual enrolled as a student in the terms,

                     conditions, or privileges of the institution, because of religion, race, color,

                     national origin, or sex.

       274.    MCL 37.2103(i) sets forth as follows:

                       i.     Discrimination because of sex includes sexual harassment. Sexual

                              harassment means unwelcome sexual advances, requests for sexual
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                            favors, and other verbal or physical conduct or communication of a

                            sexual nature under the following conditions:

                               i.     Submission to the conduct or communication is made a term

                                      or condition either explicitly or implicitly to obtain

                                      employment, public accommodations or public services,

                                      education, or housing.

                               ii.    Submission to or rejection of the conduct or communication

                                      by an individual is used as a factor in decisions affecting the

                                      individual’s employment, public accommodations or public

                                      services, education, or housing.

                               iii.   The conduct or communication has the purpose or effect of

                                      substantially        interfering   with    an     individual’s

                                        employment, public accommodations or public services,

                                      education, or housing, or creating an intimidating, hostile,

                                      or offensive employment, public accommodations, public

                                      services, educational, or housing environment.

      275.    Defendant Baird made unwelcome sexual advances and other verbal or physical

conduct or communication of a sexual nature towards F.A. DOE under circumstances and

conditions that submission to the conduct or communication was made a term or condition either

explicitly or implicitly for F.A. DOE to public accommodations, public services, and education,

and in particular, whether she would receive visual impairment instruction.

      276.    Defendant Baird made unwelcome sexual advances and other verbal or physical

conduct or communication of a sexual nature towards F.A. DOE under circumstances and
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conditions that submission to or rejection of the conduct or communication by F.A. DOE was used

as a factor in decisions affecting F.A. DOE’s public accommodations, public services, and

education, and in particular, whether she would receive visual impairment instruction.

       277.    Defendant Baird made unwelcome sexual advances, requests for sexual favors, and

other verbal or physical conduct or communication of a sexual nature towards F.A. DOE under

circumstances and conditions that the conduct or communication had the purpose or effect of

substantially interfering with F.A. DOE’s public accommodations, public services, and education

and created an intimidating, hostile, and offensive public accommodations, public services, and

education environment.

       278.    Defendant Baird made unwelcome sexual advances, requests for sexual favors, and

other verbal or physical conduct or communication of a sexual nature towards F.A. DOE under

circumstances and conditions that the conduct or communication had the purpose or effect of

denying F.A. DOE the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of a place of public accommodation or public service because of

sex.

       279.    Defendant Baird conduct by engaging in physical sexual abuse of F.A. DOE

constituted sexual harassment as that term is defined under MCL 37.2103(i) and was therefore

discrimination “because of sex.”

       280.    Defendant Baird is liable under the Elliott-Larsen Civil Rights Act, MCL 37.2101

et seq for the violations set forth above.

       281.    Defendants LPS and GCPS as set forth above, are subject to liability under the

Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq.

       282.    Defendants Baird, LPS, and GCPS are not entitled to governmental immunity under
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Michigan law for the violation of the Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq.

        283.    As a direct and/or proximate result of Baird, LPS and GCPS’s actions and/or

inactions, F.A. DOE suffered discomfort and additional medical problems, and will continue

to suffer pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation,

and enjoyment of life, was prevented and will continue to be prevented from performing her

daily activities and obtaining the full enjoyment of life, and may sustain loss of earnings and

earning capacity. As a result of such intentional conduct, Plaintiff is entitled to punitive damages

in an amount sufficient to punish Defendant Baird and to deter others from like conduct.

                WHEREFORE, Plaintiff respectfully request that this Honorable Court enter

judgment in er favor and against Defendants, jointly and severally, in an amount in excess of

$75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or exemplary damages so

wrongfully incurred, as the Court deems just.

                                  COUNT TWENTY-ONE
                            FAILURE TO REPORT CHILD ABUSE
                    DEFENDANTS LPS AND GCPS THROUGH THEIR AGENTS
                        BAIRD, OQUIST, FISHER, AND BOHNWAGNER


        284.    Plaintiff reincorporates and re-alleges each and every preceding paragraph as if fully set

forth herein.

        285.    The Michigan Child Protection Law (“CPL”) imposes a duty on certain individuals to report

suspected “child abuse” or “child neglect” and assigns civil liability for failure to fulfill that duty.

        286.    MCL § 722.623(1)(a) sets forth, in relevant part, as follows:

                        A. An individual is required to report under this act as follows:

                                a. A…social worker, licensed master's social worker, licensed
                                   bachelor’s social worker, registered social service technician,
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                                 social service technician, a person employed in a professional
                                 capacity in any office of the friend of the court, school
                                 administrator, school counselor or teacher…who has reasonable
                                 cause to suspect child abuse or child neglect shall make an
                                 immediate report to centralized intake by telephone, or, if
                                 available, through the online reporting system, of the suspected
                                 child abuse or child neglect. Within 72 hours after making an oral
                                 report by telephone to centralized intake, the reporting person shall
                                 file a written report as required in this act.

287.   “Child abuse” is defined under MCL § 722.622(g) as “harm or threatened harm to a

child’s health or welfare that occurs though nonaccidental physical or mental injury, sexual abuse,

sexual exploitation, or maltreatment, by a parent, legal guardian, or any other person responsible

for the child’s health or welfare or by a teacher, a teacher’s aide, or a member of the clergy.”

288.   “Central registry” as referenced in MCL § 722.623(1)(a) is defined under MCL §

722.622(c) as “the system maintained at the department that is used to keep a record of all reports

filed with the department under this act in which relevant and accurate evidence of child abuse or

child neglect is found to exist. The “department” as referenced in MCL § 722.622(c) is defined

under MCL § 722.622(q) as “the department of human services.”

289.   MCL § 722.633(1) provides that “[a] person who is required by this act to report an

instance of suspected child abuse or neglect and who fails to do so is civilly liable for the

damages proximately caused by the failure.”

290.   Defendants LPS and GCPS through their agents Baird, Oquist, Fisher, and Bohnwagner

are each required under the CPL to report child abuse as set forth under MCL § 722.623(1)(a).

291.   Defendant Baird’s conduct by inflicting physical and emotional sexual abuse on F.A. DOE

constituted child abuse of F.A. DOE as that term is defined under MCL § 722.622(g).

292.   Defendants LPS and GCPS through their agents Baird, Oquist, Fisher, and Bohnwagner

each had reasonable cause to suspect that F.A. DOE had been subjected to child abuse as that term

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is defined under MCL § 722.622(g).

293.    Defendants LPS and GCPS through their agents Baird, Oquist, Fisher, and Bohnwagner

each failed to report child abuse of F.A. DOE of which they had reasonable cause to suspect.

295.    F.A. DOE suffered damages that were proximately caused by the failure of Defendants LPS

and GCPS through their agents Baird, Oquist, Fisher, and Bohnwagner to report child abuse of F.A.

DOE of which those Defendants had reasonable cause to suspect.

296.    Defendants LPS and GCPS through their agents Baird, Oquist, Fisher, and Bohnwagner’s

failure to report child abuse of F.A. DOE, and those before her, together or separately, was the

proximate cause of the damages that were suffered by F.A. DOE for such failures in that it was

foreseeable that such failures, together or separately, would result in continued child abuse of F.A.

DOE.

297.    As a direct and/or proximate result of Defendants LPS and GCPS through their

agents Baird, Oquist, Fisher, and Bohnwagner actions and/or inactions, F.A. DOE suffered

discomfort and additional medical problems, and will continue to suffer pain of mind and

body,    shock,    emotional    distress,   physical    manifestations   of   emotional     distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, and enjoyment of life,

was prevented and will continue to be prevented from performing her daily activities and

obtaining the full enjoyment of life, and has may sustain loss of earnings and earning capacity.

As a result of such intentional conduct, Plaintiff is entitled to punitive damages in an amount

sufficient to punish Defendants and to deter others from like conduct.

              WHEREFORE, Plaintiff respectfully request that this Honorable Court enter

       judgment in his favor and against Defendants, jointly and severally, in an amount in excess

       of $75,000.00, plus costs, interest, and attorney fees, as well as punitive and/or exemplary

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       damages so wrongfully incurred, as the Court deems just.

                                              DAMAGES

298.    Plaintiff realleges and incorporates by reference the allegations contained in the

        previous paragraphs.

299.    As a direct and/or proximate result of Defendants LPS, Baird, and GCPS’s actions

        and/or inactions, F.A. DOE suffered discomfort and additional medical problems, and

        will continue to suffer pain of mind and body, shock, emotional distress, physical

        manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

        fright, grief, humiliation, and enjoyment of life, was prevented and will continue to be

        prevented from performing her daily activities and obtaining the full enjoyment of life,

        and has sustained and continues to sustain loss of earnings and earning capacity.

300.    The conduct and actions and/or inactions of Defendants, as alleged in the above stated

        counts and causes of actions, constitute violations of Plaintiffs Constitutional and

        Federal rights as well as the common and/or statutory laws of the State of Michigan,

        and the United States District Court has jurisdiction to hear and adjudicate said claims.

301.    In whole or in part, as a result of some or all of the above actions and/or inactions of

        Defendants, Plaintiff has and continues to suffer irreparable harm as a result of the

        violations.

302.    The amount in controversy for Plaintiff exceeds the jurisdictional minimum of

        $75,000.00.

               WHEREFORE, Plaintiff requests that this Court as the finder of fact enter

         judgment in Plaintiff’s favor against all named Defendants on all counts and claims

         as indicated above in an amount consistent with the proofs at trial, and seeks against
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  Defendants all appropriate damages arising out of law, equity, and fact for

  each or all of the above counts where applicable, and hereby requests that the trier

  of fact, be it judge or jury, award Plaintiff all applicable damages, including but not

  limited to compensatory, special, exemplary, and/or punitive damages, in whatever

  amount the Plaintiff is entitled, and all other relief arising out of law, equity, and

  fact, also including but not limited to:


          a. Compensatory damages, in an amount to be determined as fair and just
             under the circumstances by the trier of fact, including but not limited to
             medical expenses, loss of earnings, mental anguish, anxiety, humiliation,
             embarrassment, violation of Plaintiffs Constitutional, Federal, and State
             rights, loss of social pleasure and enjoyment, and other damages to be
             proved;

                b. Punitive and/or exemplary damages in an amount to be determined
                   as reasonable and just by the trier of fact;

                c. Reasonable attorneys' fees, interest, and costs; and

                d. Other declaratory, equitable, and/or injunctive relief, including but
                   not limited to implementation of institutional reform and measures
                   of accountability to ensure the safety and protection of young
                   students and other individuals, as appears to be reasonable and
                   just.

                                        Respectfully submitted,

Dated: February 10, 2023                 By: /s/ Abdallah M. Moughni
                                        Abdallah M. Moughni (P85374)
                                        Majed A. Moughni (P61087)
                                        MOUGHNI LAW, PLLC.
                                        Attorneys for Plaintiffs
                                        290 Town Center Drive, STE 320
                                        Dearborn, MI 48126
                                        (313)581-0800
                                        Abdallah@moughnilaw.com
                                        Majed@moughnilaw.com



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                               JURY DEMAND
 Plaintiff hereby demands a trial by jury on all claims set forth above.
                                       Respectfully submitted,


Dated: February 10, 2023               By: /s/ Abdallah M. Moughni
                                      Abdallah M. Moughni (P85374)
                                      Majed A. Moughni (P61087)
                                      MOUGHNI LAW, PLLC.
                                      Attorneys for Plaintiffs
                                      290 Town Center Drive, STE 320
                                      Dearborn, MI 48126
                                      (313)581-0800
                                      Abdallah@moughnilaw.com
                                      Majed@moughnilaw.com




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